 Case 21-40834-drd11           Doc 228 Filed 11/15/21 Entered 11/15/21 14:37:16                Desc
                                 Main Document     Page 1 of 6




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                   AT KANSAS CITY

IN RE:                           )
                                 )
INTERSTATE UNDERGROUND WAREHOUSE )                             Case No. 21-40834-DRD
AND INDUSTRIAL PARK, INC.        )                             Chapter 11
                                 )
          Debtor.                )

                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

           COMES NOW Creditor, Wayne Reeder (“Movant”), by and through Counsel, Colin N.
Gotham, of Evans & Mullinix, P.A., and pursuant to 11 U.S.C. § 362(d)(2) of the U.S.
Bankruptcy Code, states the following Motion for Relief from the Automatic Stay:
                                   JURISDICTION AND VENUE
    1. Pursuant to 28 U.S.C. § 1334, this Court has jurisdiction over this Motion.
    2. Pursuant to 28 U.S.C. §§ 1408 and 1409, venue for this Motion is properly before this
           Court.
    3. Pursuant to 28 U.S.C. § 157(b)(2)(G), this Motion represents a core matter.
                                    PREDICATES FOR RELIEF
    4. This Motion is brought pursuant to 11 U.S.C. § 362(d)(2) of the U.S. Bankruptcy Code
           and is a contested matter within the meaning of Federal Rules of Bankruptcy Procedure
           4001 and 9014.
                                      STATEMENT OF FACTS
    5. Movant, Wayne Reeder, is the Plaintiff in Wayne Reeder v. Sammy J. Reeder et al, Case
           2016-CV12471 (“the Lawsuit”), filed in the Circuit Court of Jackson County, Missouri
           (“the Circuit Court). The Lawsuit was filed on May 29, 2020 more than a year before the
           bankrutpcy case was filed. The Lawsuit alleges claims for Breach of Fiduciary Duty and
           Civil Conspiracy, as well as a Petition on Note and Request for Receivership. A copy of
           the Docket Sheet for the Lawsuit is attached as Exhibit A and is incorporated by
           reference. The Lawsuit essentially requests the state court to decide who owns Interstate
           Underground Warehouse and Industrial Park, Inc. Movant also attaches a copy of his
           Petition as Exhibit B and incorporates the same by reference.

00918523
 Case 21-40834-drd11            Doc 228 Filed 11/15/21 Entered 11/15/21 14:37:16                  Desc
                                  Main Document     Page 2 of 6




    6. Interstate Underground Warehouse and Industrial Park, Inc. is named as a Co-Defendant
           in the Lawsuit. (Exhibits A and B).
    7. In addition to Debtor, the Lawsuit names Sammy Jo Reeder, Leslie R. Reeder, and Stacy
           Reeder Robinson as Co-Defendants. (Exhibits A and B).
    8. Absent an Order granting Stay Relief from this Court, Movant will be unable to proceed
           to trial against Debtor and the other Co-Defendants in the same proceeding.
    9. Upon information and belief, Co-Defendants, other than the Debtor, have not sought
           bankruptcy relief.
                                         STANDARD OF REVIEW
    10. Pursuant to 11 U.S.C. § 362(d)(1), the automatic stay may be lifted “for cause” to allow
           litigation involving debtor to proceed in another forum under certain circumstances. In re
           Blan (Blan v. Nachoddoches County Hospital), 237 B.R. 737 (8th Cir. BAP 1999); See
           also, In re Wiley, 288 B.R. 818 (8th Cir. BAP 2003). Though a creditor moving for stay
           relief must make a prima facie showing that cause exists, debtor maintains the ultimate
           burden of opposing a motion for relief from stay except where equity in property is at
           issue. See, In re Living Hope Southeast, LLC, 505 B.R. 237 (Bankr. E.D. Ark. 2014); See
           also, In re Johnson, 115 B.R. 634, 636 (Bankr. D. Minn. 1989).
    11. While Congress did not define “for cause” with respect to stay relief, it fully intended for
           the automatic stay to be lifted to allow litigation involving the debtor to proceed in a non-
           bankruptcy forum under select circumstances. Wiley, at 822 (citing In re Blan, 237 B.R.
           at 739 and H.R.Rep. No. 95-595, at 341 (1977), U.S. Code Cong. & Admin.News 1978,
           at 5963, 6297-6298, S.Rep. No. 95-989, at 50 (1978), U.S. Code Cong. & Admin.News
           1978, at 5787, 5836)).
    12. To determine whether cause exists to lift the automatic stay so that a separate lawsuit
           may proceed, the Court must balance the potential prejudice to debtor, to the bankruptcy
           estate, and to other creditors against the hardship to the moving party if it is not allowed
           to proceed in the separate lawsuit. Wiley at 822; Blan at 739. The factors used to balance
           potential hardships are: (1) judicial economy; (2) trial readiness; (3) the resolution of
           preliminary bankruptcy issues; (4) the creditor’s chances of success on the merits; (5) the




00918523                                             2
 Case 21-40834-drd11             Doc 228 Filed 11/15/21 Entered 11/15/21 14:37:16                Desc
                                   Main Document     Page 3 of 6




           cost of defense or other potential burden to the bankruptcy estate and the impact of the
           litigation on other creditors. Id.




                                                ARGUMENT
    13. Cause exists to lift the automatic stay as there is no question stay relief will promote
           judicial economy in that it would permit Movant to pursue a judgment against all Co-
           Defendants in the Lawsuit, rather than pursuing judgment against the other Co-
           Defendants, and then against Debtor in a separate proceeding. Cause further exists as
           Movant is prepared to move forward with the Lawsuit, which was filed more than a year
           before this bankruptcy filing. (Exhibits A and B). There have been dozens of pleadings
           filed in the state court case and multiple hearings held. The matter was set for trial on
           January 31, 2022. An Order granting stay relief will not impede the resolution of
           preliminary bankruptcy matters as Movant’s Lawsuit seeks recovery of monetary
           damages rather than recovery of secured property in Debtor’s possession or control.
    14. The state court case is based on the unresolved issue of who owns the equity interest of
           the Debtor. The Lawsuit is a state law close corporation family fight. Wayne Reeder has
           operated the Debtor for more than thirty years and maintains that he is an owner with the
           agreement of the other shareholder.
    15. The public at large and creditors of the Debtor believed that the Mr. Reeder was the
           owner and operator of the business and the subsidiaries including, but not limited to, Park
           Reserve, LLC. (Exhibit C, Term Sheet from Citizen’s Bank and Trust. See also, Exhibit
           D, Authorizing Resolution). There will be dozens of documents that will ultimately be
           introduced that demonstrate Wayne Reeder’s interest in the Debtor.
    16. It is clear from the evidence to date that Wayne Reeder acted like an owner and was the
           party operated the business until 2020.
    17. The alleged sole shareholder, Sammy Jo Reeder, has not been to the Debtor’s property
           for over 20 years and knows nothing about any of the alleged subsidiaries. (Exhibit E,
           2004 Exam of Sammy Jo Reeder, p. 12-13).




00918523                                             3
 Case 21-40834-drd11            Doc 228 Filed 11/15/21 Entered 11/15/21 14:37:16                 Desc
                                  Main Document     Page 4 of 6




    18. Sammy Jo Reeder also does not know who interviewed and hired the managers and
           employees of the Debtor, but it was Wayne Reeder that handled all these duties until
           2020. (Exhibit E, 2004 Exam of Sammy Jo Reeder, p. 22).
    19. Sammy Jo Reeder also knows nothing of the extensive assets of the Debtor or its
           subsidiaries. (Exhibit E, 2004 Exam of Sammy Jo Reeder, pp. 33-38, 40-41, 45-50
    20. Sammy Jo Reeder agrees that Wayne Reeder is the owner of the subsidiaries. (Exhibit E,
           2002 Exam of Sammy Jo Reeder p 38, lines 12-14 and p. 53, lines 5-20).
    21. Leslie Reeder also has acknowledged that Wayne Reeder has run the Debtor from 2001
           until 2020. (Exhibit F, 2004 Exam of Leslie Reeder, p. 20, lines 6-11).
    22. Leslie Reeder has acknowledged that Wayne Reeder started and operated the subsidiary
           businesses including Park Reserve, Seven at KC, and Harrisonville Senior Car Center.
           (Exhibit F, 2004 Exam of Leslie Reeder, p. 20, lines 14-17; p. 22, lines 9-14; page 23,
           lines 2-20; p. 70, lines 21-24; and pp. 71-72.
    23. The Movant does not believe it was all of the information to conclude its case, but who is
           the owner of the Debtor must be decided and the state court is the proper forum.
    24. The Movant asserts that he operated the Debtor’s businesses and there was an agreement
           that he was an owner of a beneficial interest in the Debtor.
    25. While this Court is no stanger to shareholder disputes, the Jackson County Circuit Court
           is most equipped to determine the state law questions of who owns the Debtor and what
           interests the alleged members hold. This Bankrutpcy Court can continue to adjudicate
           the debts of the Debtor.
    26. Though Debtor may incur fees or expenses defending the Lawsuit in the event stay relief
           is granted, such expenses are insufficient to deny Movant’s request. In particular, it has
           long been the standard in this Court, that the mere cost of defense, however, is ordinarily
           considered an insufficient basis for denying relief from the stay.” Wiley at 823 (citing In
           the Matter of United Imports, Inc., 203 B.R. 162, 169 (Bankr.D.Neb. 1996); Smith v.
           Tricare Rehab. Sys., Inc. (In re Tricare Rehab. Sys., Inc.), 181 B.R. 569, 575
           (Bankr.N.D.Ala.1994)). Based on the foregoing, cause exists to lift the automatic stay
           pursuant to 11 U.S.C. § 362(d)(2).




00918523                                             4
 Case 21-40834-drd11            Doc 228 Filed 11/15/21 Entered 11/15/21 14:37:16                   Desc
                                  Main Document     Page 5 of 6




    27. While the state court case has not been removed to the bankruptcy court, the standards for
           absention are relevant to the Court’s analysis. If relief from stay is not granted then the
           Court would be essentially be rejecting any abstention argument.
    28. In deciding whether to invoke permissive abstention, the Court looks to (1) the effect of
           abstention on the efficient administration of the bankruptcy estate; (2) the extent to which
           state law issues predominate over bankruptcy issues; (3) the difficulty or unsettled nature
           of the applicable state law; (4) presence of related proceedings commenced in state court
           or other non-bankruptcy courts; (5) jurisdictional basis, if any, other than 28 U.S.C. §
           1334; (6) degree of relatedness or remoteness of the proceedings to the main bankruptcy
           case; (7) the substance rather than the form of an asserted “core” proceeding; (8) the
           feasibility of severing state law claims from core bankruptcy matters to allow judgments
           to be entered in state court with enforcement left to bankruptcy court; (9) the burden of
           the bankruptcy court's docket; (10) the likelihood that the commencement of the
           proceedings in bankruptcy court involve forum shopping by one of the *862 parties; (11)
           the existence of a right to jury trial; (12) the presence in the proceedings of non-debtor
           parties; (13) comity; and, (14) the possibility of prejudice to other parties in the action. In
           re Nassau Dev. of Vill. W. Corp., 547 B.R. 857, 861–62 (Bankr. S.D. Fla. 2016); See
           also, Bizzolara V. Fisher Pen Co., 158 B.R. 761 (N.D. Ill. 1993).
    29. The Bankruptcy Court does not need to be burdened with this family lawsuit.
    30. The state court case can proceed against all Defendants without jeopardizing the
           Bankrutpcy Court’s ability to reorganize the debts of the Debtor.
    31. Absent an Order of this Court dismissing Debtor’s Chapter 11 Bankruptcy without a
           discharge or an Order or Judgment of this Court, Movant stipulates that he will not seek
           to execute on any money Judgment against the Debtor entered in his favor in the Lawsuit
           if the Court grants Movant’s request for stay relief. Movant further asserts that he will not
           seek an order of receivership.


           WHEREFORE, Movant requests that this Court enter an Order that grants relief from the
automatic stay for cause pursuant to 11 U.S.C. § 362(d)(2), and that the Court provide any other
relief that it deems proper


00918523                                              5
 Case 21-40834-drd11         Doc 228 Filed 11/15/21 Entered 11/15/21 14:37:16              Desc
                               Main Document     Page 6 of 6




                                             Respectfully Submitted:
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                                             (913) 962-8700; (913) 962-8701 (Fax)
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                                             Attorneys for Creditor Wayne Reeder


                                CERTIFICATE OF SERVICE

        I hereby certify that on November 15, 2021, a true and correct copy of the foregoing was
electronically filed with the court using the CM/ECF system which sent notification to all parties
of interest participating in the CM/ECF system.

Interstate Underground Warehouse and Industrial Park, Inc.
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                                             /s/ Colin N. Gotham
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00918523                                        6
